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                            8
                                                        UNITED STATES DISTRICT COURT
                            9
                                                      NORTHERN DISTRICT OF CALIFORNIA
                         10                                6$1)5$1&,6&2DIVISION

                         11
                                 NETLIST, INC.,                       )     Case No. 4:09-cv-05718-56
                         12                                           )
                                                   Plaintiff,         )
                         13                                           )     [PROPOSED] ORDER GRANTING,1
                                       v.                             )     3$57 $1''(1<,1*,13$57
                         14                                           )     NETLIST’S ADMINISTRATIVE MOTION
                                 GOOGLE LLC,                          )
                         15                                                 TO FILE UNDER SEAL NETLIST’S
                                                                      )
                                                                      )     OBJECTION TO NEW EVIDENCE IN
                                                   Defendant.
                         16                                           )     GOOGLE’S REPLY IN SUPPORT OF ITS
                                                                            MOTION TO STRIKE AND EXHIBITS
                         17                                                 ATTACHED THERETO
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IRELL & MANELLA LLP
A Registered Limited Liability
 Law Partnership Including
 Professional Corporations
                                                                      -1-                           CASE NO. 4:09-CV-05718-56
                                    Case 3:09-cv-05718-RS Document 272 Filed 05/19/22 Page 2 of 2



                            1           Before the Court is Plaintiff Netlist, Inc.’s Administrative Motion to File Under

                            2    Seal Netlist’s Objection to New Evidence in Google’s Reply in Support of Its Motion to

                            3    Strikeand Exhibits attached thereto (the “Administrative Motion”).,QLWVGHFODUDWLRQLQVXSSRUW

                            4    RIWKH$GPLQLVWUDWLYH0RWLRQ*RRJOHGRHVQRWVHHNWRILOHXQGHUVHDOWKHUHGDFWHGSRUWLRQVDW

                            5    SDJHRI([Having considered the Administrative Motion, supporting declarationV, and

                            6    other papers, the Court ORDERS as follows:

                            7                                                            Designating         Court’s Ruling on
                                           Document Sought to Be Sealed
                                                                                           Party              Motions to Seal
                            8                                                                            '(1,('as to portions
                                 Netlist’s Objection to New Evidence in Google’s
                                                                                         Google          redacted at 2:15-18
                            9    Reply in Support of Its Motion to Strike
                                                                                                         3:14-16 4:4-5
                         10                                                                              '(1,(' as to portionV
                                 Ex. 1 (June 4, 2021 Emails Between Counsel)             Google
                                                                                                         redacted at page 1DQG3
                         11
                                 Ex. 2 (July 22 and July 23, 2021 Emails Between                         GRANTED as to portions
                                                                                         Google
                         12      Counsel)                                                                redacted aW page 3

                         13

                         14            6HHWKH2UGHUUH6HDOLQJIRUWKHEDVLVRIWKLVGHFLVLRQDQGIXUWKHULQVWUXFWLRQV'NW
                         15            ,7,6SO ORDERED.
                         16
                                    May 19
                         17 Dated: ___________, 2021                          __________________________________________
                                                                                             5LFKDUG6HHERUJ
                         18                                                            &KLHIUnited States District Judge

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                                                                                                                  CASE NO. 4:09-CV-0571856
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